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 1   THE WESBROOKS LAW FIRM, P.L.L.C.
 2
     MARK WESBROOKS (AZ State Bar No. 018690)
     15396 N. 83rd Ave., Ste. C100
 3   Peoria, Arizona 85381
     Phone: (602) 262-0390
 4   Fax: (888) 477-5598
 5   Mark.Wesbrooks@azbar.org
     (Admitted Pro Hac Vice)
 6   Attorney for Robert Williamson, III and Cate Waken-Williamson
 7
                                 UNITED STATES DISTRICT COURT
 8
                                       DISTRICT OF NEVADA
 9

10   ROBERT WILLIAMSON, III an individual,         BASE CASE NO.:
                                                   2:13-cv-01019-JAD- GWF
11
                    Plaintiff,
12                                                 MEMBER CASE NO.:
           vs.                                     2:13-cv-02022-JAD-GWF
13
                                                   NOTICE OF SETTLEMENT OF ALL
14
     VICTORIA L. GUNVALSON, an individual;         CLAIMS BY AND BETWEEN ROBERT
15   DAVID BROOKS AYERS, an individual,            WILLIAMSON, III, VICKI’S VODKA,
                                                   LLC, VICOTRIA GUNVALSON, AND
16                  Defendants.                    CATE WAKEN-WILLIAMSON
17

18   DAVID BROOKS AYERS, an individual,

19                Counterclaimant,
20
           vs.
21
     ROBERT WILLIAMSON, III, an individual;
22   CATE WAKEN-WILLIAMSON, an
     individual; and ANGELA TORRES, an
23
     individual,
24
                  Counterdefendants.
25

26
           COMES NOW, Plaintiff, pursuant to rule 23.1 (C), Federal Rules of Civil
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28
     Procedure, and hereby gives notice to the Court that Plaintiffs, Robert Williamson III and
       NOTICE OF SETTLEMENT OF ALL CLAIMS BY AND BETWEEN ROBERT WILLIAMSON, III, VICKI’S
                  VODKA, LLC, VICTORIA GUNVALSON, AND CATE WAKEN-WILLIAMSON 1
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 1
     Vicki's Vodka LLC, Defendant Victoria L Gunvalson and Counter-defendant Cate
 2
     Williamson, have reached settlement terms which resolve the entirety of their claims
 3

 4   against such parties. Such Settlement must be approved by Williamson’s Chapter 13

 5   Trustee and the Bankruptcy Court in the District of Arizona.
 6
            In light of settlement terms having been achieved, it is requested that matters by
 7

 8
     and between such parties, including the pending Plaintiff's Motion To Rescind

 9   Interlocutory Judgment for Attorney’s Fees (Doc. 142) and Defendant Gunvalson's Ex
10
     Parte Application for Order and Leave to Submit Late Opposition (Doc. 147) be abated
11

12   until further notice.

13          The parties expect to submit an agreed order for dismissal upon approval of
14
     settlement of the bankruptcy court, which the parties believe can be accomplished within
15

16
     the next 60 days. The parties believe that a status conference would be appropriate at or

17   near such time in the event that more time is required to present an agreed order for
18
     dismissal of claims.
19

20
            Respectfully submitted, this 19th day of March, 2018.

21
                                       THE WESBROOKS LAW FIRM, P.L.L.C
22

23                                     By:    /s/ Mark Wesbrooks
                                              Mark Wesbrooks, State Bar No. 018690
24                                            Attorney for Plaintiff
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        NOTICE OF SETTLEMENT OF ALL CLAIMS BY AND BETWEEN ROBERT WILLIAMSON, III, VICKI’S
                   VODKA, LLC, VICTORIA GUNVALSON, AND CATE WAKEN-WILLIAMSON 2
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 4                                  CERTIFICATE OF SERVICE
 5          I, Mark Wesbrooks, hereby certify that on March 19, 2018, I filed through the Court’s
     ECF system and served either through the ECF system or by electronic mail the foregoing
 6
     document described as: NOTICE OF SETTLEMENT OF ALL CLAIMS BY AND
 7   BETWEEN ROBERT WILLIAMSON, III, VICKI’S VODKA, LLC, VICTORIA
     GUNVALSON, AND CATE WAKEN-WILLIAMSON using the Court’s electronic filing
 8   system. A copy of the foregoing document(s) will be served via the Court’s electronic filing
 9
     system on interested parties in this action, or by email/regular mail as follows:

10   2:13-cv-01019-JAD-GWF Notice has been electronically mailed to:
11   Edward Randall Miley
12
     emiley@mileylaw.com

13   Sean Patrick Reis
     sreis@reisfirm.com
14

15   Tony L. Abbatangelo
     LasVegasLawoffice@gmail.com
16
     Boris Treyzon
17
     btreyzon@actslaw.com
18

19   Regular First Class Mail, and as Indicated on same date:
20
     Brooks Ayers
21   8594 E. 116th Street, #246
     Fishers IN 46038             via US Mail and via email
22
     Angela Torres
23
     6715 Rim Rock Circle, Northwest
24   Albuquerque, NM 87120

25   Michael Nicholson
     P.O. Box 32
26
     Calistoga, CA 94515
27
     /s/Mark Wesbrooks
28
        NOTICE OF SETTLEMENT OF ALL CLAIMS BY AND BETWEEN ROBERT WILLIAMSON, III, VICKI’S
                   VODKA, LLC, VICTORIA GUNVALSON, AND CATE WAKEN-WILLIAMSON 3
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     NOTICE OF SETTLEMENT OF ALL CLAIMS BY AND BETWEEN ROBERT WILLIAMSON, III, VICKI’S
                VODKA, LLC, VICTORIA GUNVALSON, AND CATE WAKEN-WILLIAMSON 4
